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                                UNITED STATES DISTRICT COURT
                                  SOUTHERNDISTMCTOF OHIO
                                 85 Marconi Blvd #121, Columbus, OH 43215

JESSICAMISHOS,
          PLAINTIFF,

V.                                                   CASE NO. 2:22-cv-01666-ALM-KAJ



MCKESSON, INC.,
          DEFENDANT.




                     OBJECTIONAND MOTIONTO VACATEFINALORDER

          Plaintiff hereby objects and timely moves this court to vacate Judge Algenon L. Marbley's
September 12, 2023 "Opinion & Order" ("Order") dismissing plaintiffs complaint under FRCP 59(e)
to allow the court to correct errors of fact and law upon which thejudgment is based.

          The District Court determined that plaintiff's claim failed because "she has not adequately
alleged that she is disabled"

I. Plaintiff sufficiently alleged all the elements of a disability discrimination claim.

          Plaintiff sufficiently alleged the following facts in her complaint in support of a claim of
disability discrimination and retaliation: (1) that her employer is a covered entity (See Amend. Compl. ^
7, 135);(2)that she has a disability within the meaning ofthe ADA undertwo prongs: "regarded as" and
"record of (See Amend. Compl. ^ 141-148, 150-157); (3) that she is qualified to perform the essential
functions of herjob (See Amend. Compl. ^ 200-202); (4) that she was engaged in protected activity and
her employer knew she was engaged in protected activity (See Amend. Compl. ^ 221-236, 250); and (5)

1     Order p. 8
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that she received adverse employment actions which were causally related to her protected opposition to
the "Covid policy" (See Amend. Compl. ^ 203-216, 251-265).
          Plaintiffs complaint contained sufficient factual matter, which is required to be accepted as true,
to state a claim to relief for disability discrimination under the ADA that is plausible on its face, which is
the standard.

A. Defendant admits that all employees were considered threats of contagious disease.

          The defendant, instructed by numerous government agencies, agents and the news media, took
the extraordinary step of classifying everyone as a potential threat of deadly, contagious disease the
moment it adopted the "Covid policy" which failed to include any requirement to perform an objective,
individualized assessment prior to imposing treatments. This blanket assumption was made under an
emergency declaration. This fact cannot be disputed even though it is based upon implausible
assumptions due to a lack of assessment.
         The defendant also believed that all employees were a risk of transmission of deadly contagious
disease and this is why treatment protocols were enforced by the employer on all employees. The Judge
also concluded:

                   McKesson treated Mishos as potentially infectious, not as presently
                   infected-as if she might contract COVID-19 in the future. ... McKesson
                   believed, as did other organizations that issued similar policies, that all
                   individuals were susceptible to contracting COVID-19- i. e., that
                   susceptibility to COVID-19is simply the natural, baseline condition ofthe
                   human immune system. -3
         It is more accurate to state, based upon measures taken, that McKesson considered all individuals
as currently potentially infectious and this is demonstrated by the masking, "testing", distancing
protocols which are designed to prevent transmission in-the-moment, and McKesson acted as if
receiving a "Covid vaccine" prevented transmission indefinitely because "vaccinated" workers were
allowed to stop masking and "testing". This leads to a second fact that cannot be disputed which is that
the defendant is requiring medical treatments and interventions based upon presuming everyone is a
threat of deadly, contagious disease; and only those employees who refuse treatments will continue to
be perceived as a threat of deadly contagious disease. This is the specific group of employees which
Mishos is in. A third fact which cannot be disputed is that the defendant effectively "quarantines" or

2    See Order, pp. 7-9.
3    McKessonneverintroducedany supportingexpertevidenceto concludethat all humansare especially sensitiveor
     susceptible to contracting this specific deadly contagious disease. This is surmise onthe Judge's part andthe judge is
     not an expert on infectious disease.
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terminates all employees who refuse these medical treatments and interventions by denying them
physical access to workspaces and to employment in general. This demonstrates that the "untreated"
group is still considered an on-going threat of deadly contagion. The plaintiff is simply alleging these
facts in the complaint which have been used by the defendant to create new employment conditions.
        The plaintiff did not allege that defendant regarded her as disabled because of her unvaccinated
status. Plaintiff claimed that she was misclassified as an on-going threat of deadly contagion because
refused prohibited medical treatments and she was terminated because she opposed and refused to
comply with a policy that she claimedviolated the ADA and other statutes.
B. Defendantis attempting to dispute alleged facts improperly.
        The defendant failed to produce an Answer to the complaint, rather it moved to dismiss the
complaint for procedural reasons under FRCP 12(b). The defendant has erroneously tried to use the
Motion to dismiss as a forum for disputing alleged facts and this is completely improper and not allowed
by the rules. The proper forum to dispute facts is in an Answer and through the discovery process. The
defendant disputes several alleged facts of the plaintiffs personal knowledge. The District Court is
aiding and abetting the defendant by allowing it to deny facts in a motion to dismiss, and attempt a
defense, when such things should be addressed in an answer to the complaint. The Judge allowed this
highly improper process against a pro se plaintiff, unschooled in the profession. This demonstrates that
the court is advocating for the defendant and is acting in an arbitrary and capricious manner.
       The defendant tried to revise plaintiffs claim of perceived impairment (direct threat of
contagion) and record of perceived impairment (on-going threat of deadly contagion once treatment has
been refused) into claiming that McKesson only perceived plaintiff as potentially infectious with a
"transitory" case of "Covid". This is not Mishos' claim it is the defendant's revsion.           It is also
preposterous.

       It is completely improper for the court to allow the defendantuse a motion to dismiss as a forum
for disputing alleged facts. This is already eggregious, but then the court allowed an unsupported
revisionist defense theory to overcome the plaintiffs sworn allegations despite the fact that "transitory
AND minor" are both questions of fact that cannot properly be analyzed at the pleading stage. The
Court argues for the defendant and states that a plaintiff cannot be "regarded as" disabled for a
transitory and minor impairment, and then erroneously applies this rule of construction to Mishos'
pleading. The defendant made the irrelevant claim that the "vast majority of cases of COVID" are
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transitory. Mishos never claimed to "have Covid"4. The defendant cannot fabricate a defense to the
ADAout ofthe "transitory AND minor" provision becauseit has demonstrated and admitted that it has
perceived Mishos as a threat of deadly contagious disease and made a record of her being an on-going
threat of deadly contagious disease starting on June 1, 20215 through the termination date of March
28 or 30, 20226, and continuing past this present moment of October 2023, because she remains
untreated. This is well beyond the 6 month cut-off. The defendant cannot claim the co-equal condition
of "minor" because it demonstrates and admits that it terminates and will not reinstate any employee
who it considers an on-going threat of deadly contagious disease because they are untreated.

         The District Court could have Teviewed Eshleman v. Patrick Industries Inc, No. 19-1403 (3d Cir.
2020); an appeal case which held that while a person with an actual condition that is both transitory and
minor does not get to pursue a "regarded as" claim, it noted that the perception of the employer is the
key to a "regarded as" case. The appeals court stated that the district court erred because it failed to
address whether the impairment that Patrick Industries perceived -described in Eshleman's complaint
as "continuing medical issues"-was transitory and minor, despite the fact that the actual surgery and
recovery that Esheleman        required was not going to last six months7.           Eshleman     argued that Patrick
Industries perceived his recent medical issues to signify an on-going health condition and thus the
perception he faced was not transitory and minor. The appeals court agreed and remanded the case back
to the district court.

                  "Eshleman's complaint containfed] plausible allegations that Patrick Industries
                  regardedhis seriesofrecentmedically-related absencesas signsofa continuing
                  medical condition that essentially rendered him damaged goods and therefore
                  unemployable. The District Court failed to evaluate whether Eshleman's
                  perceived chronic medical condition ["continuing medical conditions"], distinct
                  from his lung surgery, was objectively transitory and minor. See 29 C. F.R. Pt.
                  1630, App. at § 1630. 2(1) (2016) ("[A]n employer that terminated an employee
                  with an objectively 'transitory and minor' hand wound, mistakenly believing it
                  to be sy-mptomatic of HIV infection, will nevertheless have 'regarded' the
                  employee as an individual with a disability, since the covered entity took a
                  prohibited employment action based on a perceived impairment (HIV infection)
                  that is not transitory andminor. ')" (emphasis added)




4    Mishosis apparently is one of the few humansare earthwho do not have a "natural, baseline condition" of
     "susceptibilityto Covid" as she has neverbeendiagnosedwith it.
5    Plaintiff'sAffidavitin Supportof First AmendedComplaint, ^ 14.
6    Plaintiff's Affidavit m Support of First Amended Complaint, ^ 63-65.
7    Sixmonths or less hasbeenacceptedasthe guidelinefor establishing"transitory".
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          The Eschleman holding also points out the guiding principle that if the employer takes the
prohibited employment action of firing the employee because of perceived disability, then the employer
is violating the ADA. This is exactly what Mishos experienced.                  The holding clarifies that the
perception of an on-going medical condition does not qualify for the "transitory" element and the
adverse actions preclude the co-equal "minor" element.
I[. The Judgeignored alleged facts and made incorrect conclusions oflaw.

         A. The Judge stated that following public health guidelines is not discriminatory.8

         The Judge is not reviewing the facts alleged in the complaint. Mishos complaint is about the
abusive manner in which McKesson interpreted and enforced "public health guidelines" without any
duty. There is nothing in the health guidance which instructs employers to punish and terminate
employees who refuse treatment, furthermore McKesson is not the DOH and does not have the DOH's
mandate or authority. McKesson claimed it was imposing "vaccination" requirements under Biden's
Executive Order for Federal Contractors [DKT 23-1 p. 65] which, along with Biden's two other
Executive Orders imposing "Covid vaccine" requirements, have been permanently stayed by the courts
for improperly attempting to regulate public health. McKesson had reason to know in late November
or early December 2021 that Biden's EO was no longer operative, three months before McKesson
terminated Mishos. McKesson is not allowed to implement an employment policy which violates
established public health policy. 9 McKesson may not adopt a policy which conflicts with rights
protected under the ADA or other statutes. McKesson may not impose treatments and interventions
which are not job-related.       These issues were all raised by Mishos in the complaint and the judge
ignored them.

         B. The Court also argued that Mishos cannot be "regarded as" disabled when defendant's
policy applied broadly to all U.S. employees who worked in certain roles.

         The Court is again missing the point and ignoring alleged facts. Mishos alleged that defendant's
"Covid policy" imposes disparate treatment upon "untreated" employees and upon employees who
claim protected status. On the basis of compliance with a non-job-related medical inquiry and treatment,
the policy classifies at least three types of employees: (1) employees who are no longer classified as
"direct threats" because they are considered treated and cured ("vaccinated"); (2) employees who are
still classified as "direct threats" but who are undergoing treatments, tests and inquiries (the fabricated
8    Order p. 8.
9    Suchasa diagnosisandjudicialreviewis requiredpriorto enforcedtreatment or quarandne.
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"exemptions"); and (3) employees who are still classified as ongoing "direct threats" because they
remain "untreated" and claim exclusion from the policy on the basis of the protection of the ADA.
Mishos is the the third group. Defendant's "Covid policy" discriminates against "untreated" employees
by using a "treated'V'untreated" qualification standard as a new condition of employment. The third
group is scheduled for termination. The policy is disproportionally applied to individuals who claim
protected opposition to all policy treatments, tests and inquiries. These are all clearly alleged violations
of the ADA which the Judge ignored.

        C. The Judge failed to discern the significance of Mishos' written notice of potential
violations.

        Thejudge ignored that under a "regarded as" claim no accommodations are required or necessary
since the perceived disability is not a diagnosed disability. The judge used factually dissimilar case law
to support his contention that because McKesson claimed it offered Mishos "accommodations"" this
relieved McKesson of any need to defend or even respond to Mishos written notice of potential ADA
violations because he believed that offering ("pseudo") accommodations defeated her claim. 12 The judge
also misquoted the meaning of the text and holding in Talley v. Family Dollar Store. That case was
about an "actual" claim of disability and so the employer required a doctor's note to confirm that the
accommodation requested (a stool to sit on while working as a cashier) was necessary. The case did not
state, as the Judgewrote, that an employee is not able to claim a protected class unless a court confirms
it. 13 Mishos gave her employer written notice of possible violations [DKT 1-3, pp. 24-27], stating that
she opposed an arguably illegal policy, and she asked for a review of the legal basis for its demands, this
is all that is required to establish that she engaged in protected activity and claimed protected status.
There is no need of some "further authority" to claim protected status. The Judge stated that Mishos'
written notice had "no legal import[ance]. "        EEOC guidance on the subject of retaliation and what
constitutes protected activity is instructive. "A communication or act is protected opposition as long as
the circumstances show that the individual is conveying resistance to a perceived potential EEO
violation. "15 Thejudge deliberately failed to conclude that the notice established Mishos protected status

10 Plaintiff'sFirst AmendedComplaint If 114-117.
11 TheADAdefines an accommodationas an adjustment or modificationwhichenables an employee to perform theirjob
   functions. McKesson offered "masking and testing" or unpaid leave which do not qualify as ADA accomodations.
12 Orderp. 11.
13 Order p. 10
14 Order p. 10
15 "Questions and Answers: Enforcement Guidance on Retaliation and Related Issues" EEOC-NVTA-2016-5
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and opposition and that the defendant had a duty to respond and produce evidence of compliance, such
as an individualassessmentofthe risk Mishos posedby being "untreated".

D. Retaliation

         Mishos fully alleged several instances of adverse employment actions which demonstrated the
employer's perception that Mishos was an on-going threat of contagious disease. The adverse actions,
which are the standard in "regarded as"           claims, are direct evidence1 6 of retaliationsuch as being banned
from employee events because she wasn't "treated", being refused access to the work-place, being
refused meaningful redress, beingterminated beauseshe wasn't"treated".

         The Court established that plaintiff failed to plead facts showing that a causal relationship existed
between her protected activity and her termination. The Judge has already admited that he failed to
register the moment her protected status began. He then argues that the policy was imposed two months
before plaintiff claimed her rights and opposed the policy, therefore he was unable to ascertain any
causal correlation between plaintiffs subsequent opposition and the adverse employment actions. This
Judge is looking at the wrong window of time. He should be looking at what adverse events happened
once she opposed the policy, and not at the period when she was trying to figure out what to do.

         EEOCenforcementguidanceon retaliation is instructive:

                  3. Examples of Facts That May Support Finding of Retaliation

                  Different types or pieces of evidence, either alone or in combination, may be
                  relevant to detennine if the above causation standard has been met. In other
                  words, differentpieces ofevidence, consideredtogether, may allow an inference
                  that the materially adverse action was retaliatory.
                  The evidence may include, for example, suspicious timing, verbal or written
                  statements, comparative evidence that a similarly situated employee was treated
                  differently, falsity of the employer's proffered reason for the adverse action, or
                  any other pieces of evidence which, when viewed together, may permit an
                  inference ofretaliatory intent.
                  Suspicious timing. The causal link between the adverse action and the protected
                  activity is often established by evidence that the adverse action occurred shortly
                  after the plaintifiFengaged in protected activity. 17

         Naturally plaintiffs opposition arises after the implementation of the policy.                Mishos has
supplied direct evidence of retaliation, which satisfies the "but-for" condition of retaliation. She has


16 The "McDonnel-Douglas"burden shifting scenario the Judge discussed next simply does not apply to Mishos case,
because it is only used when direct evidence of discrimination is lacking.
17 EEOC Enforcement Guidance on Retaliation and Related Issues issued August 25, 2016
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supplied written statements from her employer detailing treatments, deadlines and consequences. She
has shown that she was treated disparately once she refused treatments. Plaintiff has fully alleged that
the only reason she was fired was because she refused the medical treatinents and the defendant admits
this. She has also alleged that she gave the employer notice of the claims and that they were based on
discrimination and non-job-related treatments, tests and inquiries. The employer has not provided a
credible reason for retaliating against the plaintiff that is not discriminatory. Claiming that she was fired
because she was insubordinate to a policy with potential ADA violations only proves plaintiffs claims.
Therefore the judge has abundant evidence of retaliation. He is arbitrarily and capriciously refusing to
acknowledgeit.

HI. The Court is fabricating legal standards and ignoring a Congressional mandate.
        The Judge stated that Mishos failed to "plead factual allegations of an impairment that she was
perceived as or misclassified as having". 18 The Court is twisting the meaning of the standards in Bell v.
Twombly and Ashcroft v. Iqbal to fabricate the conclusion that the plaintiff has not plausibly alleged that
she is disabledwithinthe meaningofthe ADA.
        A claim has facial plausibility when the plaintiff pleads enough factual content that allows the
court to draw the reasonable inference that the defendant is liable under the alleged claim Bell v.
Twombty, 550 U. S. at 556. ("A claim has facial plausibility when the pleaded factual content allows the
court to draw the reasonable inference that the defendant is liable for the misconduct alleged. " Id., at
556, 127 S. Ct. 1955. ) "[A] complaint need not "make a case" against a defendant or "forecast evidence
sufficient to prove an element" of the claim. It need only "allege facts sufficient to state elements" ofthe
claim. McKesson has a legal duty to uphold the ADA. Mishos fully alleged all four necessary elements
of a discrimination claim. The plaintiffs complaint clearly meets the standard and, furthermore, the
plaintiff made allegations based upon the more rigorous standard of her personal knowledge, rather than
"information and belief. Therefore, defendant's liability can be determined from the facts alleged in
plaintiffs amended complaint, and defendant is an entity with a legal duty to uphold the ADA.
        It is not a legal defense for the defendant to nakedly claim that it fired the plaintiff because she
refused to comply with a policy, when that very policy arguably violates the ADA. Instead of analyzing
McKesson's policy for legitimacy and ADA compliance the Judge simply parroted McKesson's naked
claim. Judge Marbley wrote: "... the adverse employment actions that Mishos complains of-being


18 Order p. 10
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'isolated and segregated from her coworkers' and being terminated-were caused by her non-
compliance with the company's COVID-19 policy."
        The Court failed to recognize that plaintiff opposed defendant's "Covid policy" because she
claimed it violated her rights and she claimed that her employer was interfering with her rights by only
presenting "exemptions" and denying ADA-based "opt-outs" and it provided no information about
adverse reactions or a risk/benefit analysis of the experimental "vaccine" and no indication of its
liability. Mishos alleged that her employer was improperly assuming a legal duty that is only granted to
the DOH, not private employers; that the Biden EO basis for policy was stayed by the court three
months before Mishos was fired; and that the policy conflicted with established public health policy.
Defendant admits in written communications that it consistently threatened plaintiff with termination
unless she received treatment and submitted proof of "full vaccination for COVID-19, " by the
determined deadline, and it ultimately terminated her employment. Given these facts, the court is not
able to reach the legal or factual conclusion that Mishos was insubordinate without an answerfrom the
defendant and an evidentiary process. The Court needs to closely analyze the alleged facts and determine
whether the defendant appropriately handled an employee who claimed protected class status, asked for
her rights to be acknowledged and, in the process, kept the burden of proof on the defendant to show the
plaintiff was, in fact, a direct threat or whether the defendant presented valid legal defenses. There is no
factual or legal basis at the pleading stage for the Judge as a neutral arbiter to assume the contested
policy is legitimate, therefore he cannot reach the conclusion that Mishos was fired for "non-
compliance" with a legitimate policy (insubordination) rather than for opposing a policy that denied her
rights andwas in conflict with establishedlaws, as she fully alleged.

        Congress stated in 2008 that the main focus of the courts should be whether the employer is
satisfying its obligations under the ADA. "... [I]t is the intent of Congress that the primary object of
attention in cases brought under the ADA should be whether entities covered under the ADA have
complied with their obligations, and to convey that the question of whether an individual's impairment is
a disability under the ADA should not demand extensive analysis. "20 (emphasis added). Thus the ADA
standard of review for pleadings is directed at the employer's duty and the burden is on the employer to
show that it complied with its duty which is essentially a slighty lower standard than in Twombly and
Ashcroft becausethe covered entity's liability is assumed.


19 Orderp.14
20 29 CFRAppendixto Part 1630-Interpretive Guidance on Title I ofthe Americans WithDisabilitiesAct.
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        The District Court is countermanding Congress and imposing a higher threshold than the ADA-
AA intends, when it moves to separate employees from coverage rather than focusing on the employer's
compliance of its ADA-obligations. As another example: Judge Marbley opined that the policy was
applied universally to everyone and used this to deny Mishos coverage. Yet, he admittedly failed to
recognize that Mishos entered a protected class the moment she noticed her employer of the potential
violations. She alleged the policy was applied differently to her, and to any employee who claimed their
rights and refused non-job-related medical treatments, tests and inquiries, as only this group was
terminated. The Judgerefusedto analyzeMishos' alleged facts of howMcKessonrespondedto Mishos'
protected status: it ignored her notice, it refused her meaningful redress, it continued to punish her, etc.
Judge Marbley did not correctly analyzeMcKesson's responsesfor compliancewith the law, insteadhe
treated everything McKesson improperly disputed via a motion to dismiss as if the McKesson version
was proven fact while refusing to accept Mishos sworn testimony and allegations as facts per legal
standard. He nakedly advocatedfor the defendant.
IV. Non-job-related medical treatments, tests and inquiries
        The Court stated that defendant was "plotting the best way to minimize the spread of COVID-
19 among in-office employees. '     However, defendant has no legal duty or obligation to prevent the
"spread ofCOVID-19", especially in light of plaintiff's claims that, in the process, defendant's new
policy conflicts with several established laws and interferes with her rights.

        Plaintiff pointed out that the policy does not include any provisions to: (1) remain compliant
with disability law or address the needs and rights of employees with disabilities, and (2) protect the
medical privacy of employees. Plaintiff argued that the policy fails to provide any advice or instruction
on how to conduct any individualized assessment to determine if an employee is actually a direct threat
to the health and safety of others, and the policy required non-job-related medical examinations and
treatments and disability-related inquiries of the plaintiff that were not consistent with business
necessity andnot permitted under 29 CFRPart 1630. 13(b).

        Judge Marbley addressed only one aspect of one portion of these allegations and remained mute
on all the rest. He decided to only tackle one small aspect of the larger question of medical privacy. The
question of medical privacy is inextricably intertwined with the question of whether the medical
information being requested is objectively necessary for the performance of the employee's job duties;
but JudgeMarbley failed to analyze this issue. Marbley simply commented that becauseMishos did not

21 NeeOrder, p. 2.

                                                     10
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submit any medical information through McKesson's health information portal, that she failed to allege
that any of her medical information was shared inappropriately, or that any unauthorized personnel were
informed of her vaccination status. 2 He did not analyze the larger question of whether the policy itself
is non-compliant because of its tendency to invade medical privacy in general.

        Mishos alleged that one of the medical information inquiries requested was: have you taken a
"COVID-19 vaccine"? Mishos alleged this question 1. ) was improper because the request had nothing
to do with her ability to perform her job duties; 2. ) was technically "disability-related" because the
defendant would take adverse employment actions against all employees it classified as "unvaccinated
and refusing treatment" because it misclassified this group as an on-going source of contagion; 3.)
violated her medical privacy by even asking such a question as it was not job-related; 4. ) and she had
concerns about uploading such information onto a third-party website that did not disclose who had
access to information that the ADA states is only to be shared with plaintiffs direct supervisors. Instead
McKesson states that it will store this information on a third-party online portal and claims that the
information will be "used only for authorized business purposes, or health, safety and compliance
purposes. "23 which the Judge seems to think is perfectly fine. This statement fully demonstrates that the
data dispersal is already beyond the scope of the ADA parameters. Her information is only supposed to
be given out to immediate supervisors in order to enable her to perform her job functions. Her
information is not permitted to be used for such undefined terms as corporate "health" purposes,
"safety" purposes, "authorized business" purposes or "compliance" purposes through data sharing.

       EEOC Guidance states that an employer must have objective evidence of a disease before it
makes medical inquiries or imposes testing. The EEOC counsels employers that if they want to ask any
individual employee to "test" and answer medical inquiries, then that employer is required to first have
a diagnosis of that individual employee before making disability-related inquiries.
                A. Disability-relatedinquiries and Medical Exams
                9. "If an employer wishes to ask only a particular employee to answer such
                questions, or to have a temperature reading or undergo other screening or
                testing, the ADA requires the employer to have a reasonable belief based on
                objective evidencethatthis person mighthave the disease.'


22 Order p. 13.
23 Plaintiff's ExhibitsA-12,ECFNo. 23-1
24 "What You Should Know About COVID-19 and the ADA, the Rehabilitation Act, and Other EEO Laws Technical
   Assistance Questions and Answers" - Updated on July 12, 2022. https://www.eeoc.gov/wysk/what-you-should-know-
   about-covid-19-and-ada-rehabilitation-act-and-other-eeo-laws


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      Additionally, in order for the medical inquiries and medical tests imposed by McKesson's
"Covid policy", to be ADA-compliant, they must satisfy both requirements illustrated by the same
EEOC Guidance:

                 "... once an employee begins work, any disability-related inquiries or
                 medical exams must be "job-related and consistent with business
                 necessity. " (emphasis added) Introduction "Disability-related Inquiries
                 and Medical Exams"


        The "vaccine status" question is a disability-related inquiry prohibited by the ADA because
McKesson treats all employees who decline the treatment as an on-going threat of contagion and
terminates their employment.     McKesson's step of taking adverse actions based upon the employee's
answer to the question is what makes the inquiry prohibited, and the fact that the information requested
is not job-related and is not consistent with "business necessity" which is a statutorily defined term
which is conditioned upon the employer providing a specific risk assessment.

        In addition, Judge Marbley failed to notice the alleged medical privacy violation inherent in
McKesson holding "vaccinated-only" work functions. McKesson admitted to banning Mishos from
particpation and any attendees were thus made aware of Mishos "vaccine-status" and could share their
observations with any person they felt inclined to. Defendantnever demanded medical treatments as a
condition of employment before. The treatments are not related to performing essential job functions
which demonstrates that the employer has no legal duty to impose these treatments.

        Additionally, defendant's agents are clearly not trained to conduct medical examinations and
impose treatments; the policy is admittedly implemented with no medical oversight and no diagnosis.
There is no way to measure the success of the policy measures. In fact, defendant is infringing on
public health laws and established public health policy by not following the diagnosis and due process
conditions that have long been established for contagious disease.          Plaintiff alleged this in her
complaint and the Judge also noted that Mishos reiterated this point in her response to the motion to
dismiss by "... arguing that the policy 'is not only irrational and unreasonable, it contravenes more than
one hundred years of public health policy'. But [Judge Marbley concluded that] this Court need not
reach the scientific or public health merits of those policies today.... "25 Judge Marbley was not
requested to assess the merits of public health law, he was asked to take note of the ways in which
McKesson's "Covid policy" contravened            established public health law; specifically on the
requirements of diagnosis, due process andjudicial review prior to imposing treatments or quarantines.

25 Order p. 15

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       CONCLUSION: For the reasons herein the judge's decision constitutes abuses of discretion;
with several factual errors, he erroneously applied statutes, he ignored defendant's burden, and he
improperly allowed defendant to deny alleged facts without supporting evidence in a motion to dismiss,
instead of an answer, and it should be reversed.

       WHEREFORE the plaintiff requests an order reversing the Order, which also allows the
second amended complaint to proceed and instructs the defendant to file an Answer to the second
amended complaint.

DATEDthis ^ dayofOctober,2023.
                                                          Jessica)Mishos, Plaintiff in Propria Persona




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     Case: 2:22-cv-01666-ALM-KAJ Doc #: 39 Filed: 10/11/23 Page: 14 of 14 PAGEID #: 1395




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 5
                                       UNITED STATES DISTRICT COURT
 6
                                         SOUTHERNDISTMCTOF OHIO
                                        85 Marconi Blvd #121, Columbus. OH 43215
 7


 8
         JESSICAMISHOS,
                PLAINTIFF,
 9



10
         V.                                                   CASE NO. 2;22-cv-01666-ALM-KAJ

11

12
         MCKESSON,INC,
                DEFENDANT.
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                                           CERTIFICATEOF SERVICE

17              I, Jessica Mishos, hereby certify that a true and correct copy of the foregoing was duly served]
18       upon the defendant's attorneys, Federico G. Barrera III and Kathryn Ellen Toth, at the address of127|

19
        Public Square, Suite4100, Cleveland, OH44114, viafirst class mail onthis \) day ofOctober, 2023.
20      By:
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